Case: 1:19-cv-03077 Document #: 84 Filed: 08/01/19 Page 1 of 3 PagelD #:6055

CREATIVE IMPACT INC.;
CREATIVE IMPACT (HONG KONG) LIMITED;
ZURU LLC; and

ZURU INC.,

Plaintiffs,

V.

THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON
SCHEDULE A HERETO,

Defendants.

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

Case No.: 19-cv-3077

Judge Charles R. Norgle

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PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL

Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiffs CREATIVE
IMPACT INC., CREATIVE IMPACT (HONG KONG) LIMITED, ZURU LLC, ZURU INC., hereby

dismiss with prejudice all causes of action in the complaint against the following Defendants identified in

Schedule A. Each party shall bear its own attorney’s fees and costs.

No.

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Defendant

perfectfree
pfw_good_dress

PTT2016

Qilige
qq13752767383@163.com
QQmac

rexnjo-1057

shangxueyuan
shaozhigang

The respective Defendants have not filed an answer to the complaint or a motion for summary

judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is

appropriate.
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Dated: August 1, 2019

Respectfully submitted,

By:

s/Michael A. Hierl

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CREATIVE IMPACT INC.,

CREATIVE IMPACT (HONG KONG) LIMITED,
ZURU LLC,

ZURU INC.
Case: 1:19-cv-03077 Document #: 84 Filed: 08/01/19 Page 3 of 3 PagelD #:6055

CERTIFICATE OF SERVICE
The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of

Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on August 1, 2019.

s/Michael A. Hierl
